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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                             :    CHAPTER 7
                                                   :
LISA L LADAY-DAVIS,                                :    CASE NO. 23-52400-JWC
AKA LADAY LISA                                     :
                                                   :
                                                   :
         Debtor.                                   :
                                                   :
DISCOVER BANK,                                     :    CONTESTED MATTER
                                                   :
         Movant.                                   :
                                                   :
vs.
                                                   :
LISA L LADAY-DAVIS,
                                                   :
AKA LADAY LISA
S. GREGORY HAYS, Trustee                           :
                                                   :
         Respondents.                              :

                                    NOTICE OF HEARING

      PLEASE TAKE NOTICE that Discover Bank has filed a Motion for Relief from the
Automatic Stay and related papers with the Court seeking an order modifying the automatic stay.

        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following number: (toll-free number: 833-568-
8864; meeting ID 160 459 5648), at 10:00 a.m. on May 4, 2023 in Courtroom 1203, United
States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as
determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
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addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk’s Office is Clerk, U.
S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also
mail a copy of your response to the undersigned at the address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.


   Dated this:     04/13/2023


                                               /s/Michael J. McCormick
                                               Michael J. McCormick, GA BAR NO.
                                               485749
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-3918
                                               Michael.McCormick@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    ) CHAPTER 7
                                                          )
LISA L LADAY-DAVIS,                                       ) CASE NO. 23-52400-jwc
AKA LADAY LISA                                            )
                                                          )
         Debtor.                                          )
                                                          )
                                                          )
DISCOVER BANK,                                            ) CONTESTED MATTER
                                                          )
         Movant.                                          )
                                                          )
vs.                                                       )
LISA L LADAY-DAVIS,                                       )
AKA LADAY LISA                                            )
S. GREGORY HAYS, Trustee                                  )
                                                          )
         Respondents.                                     )


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY


         COMES NOW Movant and shows this Court the following:

                                                   1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                   2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. A copy of the Security Deed is attached hereto and made a part hereof. Said real

property is security for a promissory note, and is located at and more commonly known as 2220

Derbyshire Dr, Marietta, Georgia 30064 (the “Property”).
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                                                 3.

       Debtor is in default of the monthly installments pursuant to the terms of the Note. As of

April 5, 2023, Debtor is delinquent for three (3) payments of $366.53 each (February 2023 to

April 2023), for a total contractual delinquency of $1,099.59, pursuant to the terms of the Note.

                                                 4.

       As of April 5, 20203, the total debt owed to Movant is approximately $50,508.64,

consisting of: an unpaid principal balance of $49,434.47; accrued interest in the amount of

$1,030.74; total fees in the amount of $25.00; accumulated late charges in the amount of $18.33;

and a flat/other penalty fee in the amount of $0.10.

                                                 5.

       Because of Debtor’s default and inability to make all required payments, Movant is not

adequately protected and shows that there is cause for relief from the automatic stay.

                                                 6.

       In addition, Debtor’s Statement of Intention filed on March 13, 2023, indicates Debtor

intends to surrender her interest in the Property [Doc# 1], which is further cause for relief from

the automatic stay. Further, upon information and belief, the Debtor does not reside in the

Property.

                                                 7.

       Because there may be little or no equity in the Property which could benefit the Estate,

the Trustee’s interest should be deemed abandoned.

                                                 8.

       Because the Security Deed so provides, Movant is entitled to its attorney’s fees.
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                                                 9.

        Debtor’s Schedule A/B values the Property at $648,000.00 [Doc# 1]. Upon information

and belief, Movant is not aware of any other liens against the Property, other than a first

mortgage lien in the amount of $423,105.00 held by LoanCare, LLC and a statutory lien in the

amount of $25,225.00 held by High Caliber Construction, LLC, according to Debtor’s Schedule

D [Doc# 1].

                                                 10.

        Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

        WHEREFORE, PREMISES CONSIDERED, Movant prays (1) for an Order modifying

the automatic stay, authorizing Movant, its successors and assigns, to proceed with the exercise

of its private power of sale and to foreclose under its Security Deed and appropriate state

statutes; (2) for an award of reasonable attorney’s fees; (3) that Movant, at its option, be

permitted to contact the Debtor via telephone or written correspondence regarding potential loss

mitigation options pursuant to applicable non-bankruptcy law, including loan modifications,

deeds in lieu of foreclosure, short sales and/or any other potential loan workouts or loss

mitigation agreements; (4) for waiver of Bankruptcy Rule 4001(a)(3); and (5) for such other and

further relief as is just and equitable.

                                              /s/Michael J. McCormick
                                              Michael J. McCormick, Georgia BAR NO.
                                              485749
                                              Attorney for Movant
                                              McCalla Raymer Leibert Pierce, LLC
                                              1544 Old Alabama Road
                                              Roswell, Georgia 30076
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                                      678-281-3918
                                      312-803-9663
                                      Michael.McCormick@mccalla.com
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                                             BANKRUPTCY CASE NO. 23-52400-JWC

                                             CHAPTER 7

                                  CERTIFICATE OF SERVICE

       I, Michael J. McCormick, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, Georgia 30076-2102, certify:

       That on the date below, I served a copy of the within NOTICE OF HEARING, together
with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in this bankruptcy
matter on the following parties at the addresses shown, by regular United States Mail, postage
prepaid, unless another manner of service is expressly indicated:

Lisa L Laday-Davis
798 Springs Crest Drive
Dallas, GA 30157
Debtor

Lisa L Laday-Davis
2220 Derbyshire Dr
Marietta, GA 30064
Debtor

High Caliber Construction, LLC
48 Violet Lane
Dallas, GA 30132
Lienholder

LoanCare, LLC
Attn: Consumer Solutions Dept
3637 Sentara Way
Virginia Beach, VA 23452
Lienholder

Daniel E. Raskin                             (served via ECF notification)
Law Clinic of Daniel E. Raskin
Suite 114
325 Hammond Drive
Atlanta, GA 30328
Attorney for Debtor



                          (Certificate of Service continued on next page)
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S. Gregory Hays, Trustee                   (served via ECF notification)
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305
Chapter 7 Trustee

Office of the United States Trustee        (served via ECF notification)
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
U.S. Trustee



I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Executed on:     04/13/2023       By:   /s/Michael J. McCormick
                     (date)             Michael J. McCormick Georgia BAR NO. 485749
                                        Attorney for Movant
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